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AO 245B (Rev 12/10) Criminal Judgment Sheet 1

                                           UNITED STATES DISTRICT COURT
                                                         District of New Mexico

                  UNITED STATES OF AMERICA                            Judgment in a Criminal Case
                             V.
                              Jarin Scott                             (For Offenses Committed On or After November 1, 1987)
                                                                      Case Number: 1:10CR01361-001JB
                                                                      USM Number: 54198-051
                                                                      Defense Attorney: Jason Bowles, Appointed
THE DEFENDANT:

c    pleaded guilty to count(s) 1 of Indictment
d    pleaded nolo contendere to count(s) which was accepted by the court.
d    after a plea of not guilty was found guilty on count(s)

The defendant is adjudicated guilty of these offenses:

Title and Section Nature of Offense                                                        Offense Ended              Count
                                                                                                                      Number(s)
18 U.S.C. Sec.      Assault with a Dangerous Weapon, Crime in Indian Country, 18 U.S.C. 04/12/2010                    1
113(a)(3)           Sec. 1153

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

d    The defendant has been found not guilty on count .
c    Count 2 of Indictment is dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      March 8, 2011
                                                                      Date of Imposition of Judgment


                                                                      /s/ James O. Browning
                                                                      Signature of Judge


                                                                      Honorable James O. Browning
                                                                      United States District Judge
                                                                      Name and Title of Judge


                                                                      May 17, 2011
                                                                      Date Signed
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AO 245B (Rev. 12/10) Sheet 2 - Imprisonment                                                                            Judgment - Page 2 of 6


Defendant: Jarin Scott
Case Number: 1:10CR01361-001JB


                                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 36 months
.

The Court incorporates its Memorandum Opinion and Order, filed May 4, 2011 (Doc. 79). The United States Probation Office
("USPO") disclosed a Presentence Investigation Report ("PSR") for Defendant Jarin Scott on February 10, 2011. In the PSR,
the USPO calculated Scott`s offense level to be 16 and his criminal history category to be I, establishing a guideline imprisonment
range of 21 to 27 months. There being no objection to the factual findings and sentencing calculations in the PSR, the Court adopts
them as its own. Pursuant to rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure, the Court accepts the plea agreement,
which stipulates to a 36-month sentence, as the Court is satisfied that the agreed offense level departs for justifiable reasons. In
the plea agreement, the parties agreed to a 36-month sentence in exchange for Plaintiff United States of America`s dismissal of
the charges under 18 U.S.C. § 924(c)(1)(A) for using a firearm in relation to a crime of violence, which carries a ten year minimum
sentence.

The Court notes Scott fired two shots from a Remington Hawk, model 382, 12 gauge shotgun at the apartment number 222 of
the Chaco River Apartments in Shiprock, New Mexico, and within the exterior boundaries of the Navajo Nation Indian reservation.
Jefferson Nez, Kristin Banally, Michael Walker, and three juveniles were inside the apartment at the time Scott fired the shots.
The Court sentences Scott to 36 months in the Bureau of Prisons` custody. The Court has considered carefully the parties`
arguments and the circumstances of this case. The Court has considered the guidelines, but, in arriving at its sentence, has taken
into account not only the guidelines but other sentencing goals. Specifically, the Court has considered the guideline range for the
applicable category of offense committed by the applicable category of defendant. The Court believes that the punishment that
the guidelines set forth is not appropriate for Scott`s offense. The crime was serious, and someone could have been seriously hurt.
An upward variance is appropriate. In exchange for a sentence of 36 months, the plea agreement dismisses charges under 18
U.S.C. § 924(c)(1)(A), which would carry a ten year sentence. The Court finds that a 36-month sentence adequately reflects the
seriousness of the offense, promotes respect for the law, provides just punishment, affords adequate deterrence, protects the
public, and otherwise fully reflects each of the factors embodied in 18 U.S.C. § 3553(a). While the Court`s task, as a district court,
is not to arrive at a reasonable sentence -- it is to come up with one that reflects the factors in 18 U.S.C. § 3553(a), see United
States v. Conlan, 500 F.3d 1167, 1169 (10th Cir. 2007)("[A] district court`s job is not to impose a reasonable sentence. Rather, a
district court`s mandate is to impose a sentence sufficient, but not greater than necessary, to comply with the purposes of section
3553(a)(2).")(citation omitted) -- the Court believes this sentence is reasonable, and more reasonable than the one the guidelines
recommended. Finally, the Court believes that the 36-month sentence adequately reflects Scott`s criminal history and that this
sentence is sufficient without being greater than necessary to comply with the purposes of punishment Congress set forth in the
Sentencing Reform Act. Scott shall be on supervise release for a term of three years following his incarceration.

d      The court makes the following recommendations to the Bureau of Prisons:

       Phoenix Federal Correctional Institution, Phoenix, Arizona, if eligible

c      The defendant is remanded to the custody of the United States Marshal.
d      The defendant shall surrender to the United States Marshal for this district:
       d    at on
       d    as notified by the United States Marshal.
d      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       d    before 2 p.m. on
       d    as notified by the United States Marshal
       d    as notified by the Probation or Pretrial Services Office.


                                                              RETURN
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I have executed this judgment as follows:




Defendant delivered on ________________________________________________________________ to
______________________________________ at _______________________________ with a Certified copy of this judgment.




                                                           UNITED STATES MARSHAL

                                                           By
                                                           DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 12/10) - Sheet 3 - Supervised Release                                                                                   Judgment - Page 4 of 6


Defendant: Jarin Scott
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                                                          SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years .

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
by the court.

d      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance abuse.
       (Check, if applicable.)
c      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable).
c      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable).
d      The defendant shall register with the state, local, tribal and/or other appropriate sex offender registration agency in the state where the defendant
       resides, works, or is a student, as directed by the probation officer. (Check, if applicable.)
d      The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Criminal Monetary
Penalties sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the attached
page.

                                                      STANDARD CONDITIONS OF SUPERVISION

1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)     the defendant shall support his or her dependents and meet other family responsibilities;
5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
       reasons;
6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
       or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
       unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
       observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
       the court; and
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
       personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
       with such notification requirement;
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AO 245B (Rev. 12/10) Sheet 3                                                                  Judgment - Page 5 of 6


Defendant: Jarin Scott
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                                  SPECIAL CONDITIONS OF SUPERVISION

The defendant shall not possess, have under his control, or have access to any firearm, ammunition, explosive
device, or other dangerous weapons, as defined by federal, state, or local law.

The defendant must participate in an educational or vocational program as approved by the probation
officer.

The defendant must submit to a search of his person, property, or automobile under his control to be
conducted in a reasonable manner and at a reasonable time, for the purpose of detecting firearms,
ammunition, illegal substances and contraband at the direction of the probation officer. He must inform
any residents that the premises may be subject to a search.

The defendant must refrain from the use and possession of alcohol and other forms of intoxicants. He must
not frequent places where alcohol is the primary item for sale.

The defendant will be prohibited from incurring new credit charges, opening additional lines of credit, or
negotiating or consummating any financial contracts without prior approval of the probation officer.

The defendant must provide the probation officer access to any requested financial information, personal
income tax returns, authorization for release of credit information, and other business financial information
in which the defendant has a control or interest.

The defendant shall have no contact with the co-defendant in this case.

The defendant will have no contact with the victims at anytime.
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AO 245B (Rev.12/10) Sheet 5, Part A - Criminal Monetary Penalties                                                        Judgment - Page 6 of 6


Defendant: Jarin Scott
Case Number: 1:10CR01361-001JB


                                                 CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties in accordance with the schedule of payments.
d        The Court hereby remits the defendant's Special Penalty Assessment; the fee is waived and no payment is required.
Totals:                                     Assessment                           Fine                         Restitution
                                              $100.00                           $0.00                          $1,213.09


                                                         SCHEDULE OF PAYMENTS
Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5) interest;
(6) penalties.
Payment of the total fine and other criminal monetary penalties shall be due as follows:
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
A       c In full immediately; or
B       d $ immediately, balance due (see special instructions regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties:Criminal monetary penalties are to be made payable
by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque, New Mexico
87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case number and type of
payment.

Pursuant to the Mandatory Victim Restitution Act, it is further ordered that the Defendant will make restitution to the Chaco
River Apartment Complex at Northwest Subdivision, West of Mile marker 94 & Highway 49, P.O. Box 1906 in Shiprock, New
Mexico 87420. The restitution will be paid jointly and severally with the co-defendant, through the Defendant`s participation in
the Bureau of Prison`s Inmate Financial Responsibility Program. The remaining balance of the restitution will be paid upon the
Defendant`s release from Bureau of Prison`s custody. The restitution will be paid in monthly installments of not less than $50 or
10% of the Defendant`s gross monthly household income, whichever is greater. The amount of restitution is $1,213.09.

Consistent with a stipulation in the Plea Agreement, the Defendant forfeits his rights, title, and interest in the items listed in
paragraph 13 of the Plea Agreement.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments, except
those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as directed by the court,
the probation officer, or the United States attorney.
